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                EXHIBIT B
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  Civil - Case and Transaction Information                                                                          3/12/20 10:04 AM
  Cause Number:                096-315149-20                                                                    Date Filed: 02-12-2020
        HAROLD FRANKLIN OVERSTREET                                                            ALLSTATE VEHICLE AND
                                                                  | VS |
                                                                                         PROPERTY INSURANCE COMPANY
  Cause of Action:             CONTRACT, CONSUMER/DTPA
  Case Status:                 PENDING
  File Mark      Description                                                                    Assessed Fee          Credit/Paid Fee
  02-12-2020 PLTF'S ORIG PET                                                     N I                   289.00
  02-12-2020 COURT COST (PAID) trans #1                                          Y                                         289.00
  02-12-2020 CIVIL INFO SHEET                                                    I                                            0.00
  02-12-2020 COPIES - SENT TO DP                                                 N                      13.00
  02-12-2020 COURT COST (PAID) trans #4                                          Y                                          13.00
  02-12-2020 CITATION                                                            N     Svc               8.00
  02-12-2020 COURT COST (PAID) trans #6                                          Y                                            8.00
  02-12-2020 CIT Cert Mail-ISSUED ON ALLSTATE VEHICLE AND                        N     Svc              83.00
                 PROPERTY INSURANCE-On 02/13/2020
  02-12-2020 COURT COST (PAID) trans #8                                          Y                                          83.00
  02-24-2020 CIT Cert Mail Tr# 8 RET EXEC(ALLSTATE VEHICLE AND I                                                              0.00
                 PROPERTY INSURANCE COMPANY) On 02/18/2020
  03-11-2020 DEFN ORIG ANS                                                       I                                            0.00

                                                       District Clerk's Office
                                               Tom Vandergriff Civil Courts Building
                                 100 N. Calhoun St., 2nd Floor, Fort Worth, Texas 76196, Contact Us
                 Please send questions and comments regarding the District Clerk web site to District Clerk Webmaster




https://egov.tarrantcounty.com/group/dc/civil?p_p_id=subscriberAccessCivil_WAR_subsc... 3/12/2020
